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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

FREDERICK FULLER ET AL. : CASE NO. 4:20-cv-01027
k

V. . RETURN OF SERVICE
se
*

JUMPSTAR ENTERPRISES, LLC ET AL.

RETURN OF SERVICE ON KATHLEEN TYSON

STATE OF TEXAS -
COUNTY OF MONTGOMERY *

Before me, the undersigned authority, personally appeared Michael Ryden Bigner, who
produced as identification a Texas driver license, and who after being by me duly sworn, did depose
and state:

My name is Michael Ryden Bigner. I have personal Knowledge of the facts contained herein,
and they are true and correct in every detail. I am neither a party to nor interested in the outcome of the
above-captioned cause. I am certified by the Judicial Branch Certification Commission per order of the

Texas Supreme Court in accordance with Texas Government Code § 156 to execute citations and other

notices of the Court, and make due return thereof. My process server certification number is PSC-
17780. My certification expires 1/31/2022.

Came to hand on 13 July 2020 at TZ. 0 / veo m and executed on 14 July 2020 at 6:45
pm at 123 Reese Run Street, Montgomery, Texas, 77316, which is defendant's usual place of abode, by
delivering to Kathleen Tyson, defendant, by delivering in person to Brian Tyson, Jr, a person of
suitable age and discretion who resides there, a true copy of the following documents:

{, Summons in a Civil Action and Complaint, having first endorsed the date of delivery on the
copy of the Summons;

2. Plaintiffs' Complaint - Collective Action:

3. Joint Discovery/Case Management Plan Under Rule 26(f) Federal Rules of Civil Procedure:

4. Initial Discovery Protocols for Fair Labor Standards Act Cases Not Pleaded as Collection

Actions;

o. Order Scheduling the Rule 16 Conference With the Court and Setting Out the Court's

Requirements for Initial Pretrial Work:

6. Notice of Resetting.
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Executed thi day of July 2020.

  
    

 

chael Ryden BigneYPSC-17780

SWORN TO AND SUBSCRIBED before me this’ day of July 2020.

Lh ebltelscalse

Notary Public for the State of Texas

 

     
    

. . DONNAWITCHER HILLS |
seme _ Notary Public
Taxable Court Cost Advanced by Plaintiff STATE OF TEXAS

 
 
 
 

ID#1960934
My Comn. Exp, May 30, 2023

  

 
